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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9          UNITED STATES OF AMERICA,                        CASE NO. CR20-0217-JCC-8
10                             Plaintiff,                    ORDER
11                    v.

12           STEVEN R. DEL VECCHIO,

13                             Defendant.
14

15          This matter comes before the Court on Defendant Steven R. Del Vecchio’s unopposed
16   motion to extend his self-surrender date from August 7, 2024, to November 7, 2024 (Dkt. No.
17   764). For the reasons indicated in Defendant’s motion, (see id.), the motion is hereby
18   GRANTED.
19          DATED this 24th day of July 2024.




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                                                          John C. Coughenour
23                                                        UNITED STATES DISTRICT JUDGE
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     ORDER
     C20-0217-JCC-8
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